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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION

 FEDERAL TRADE COMMISSION,
 STATE OF ARIZONA,
 STATE OF CALIFORNIA,                                 Case No.: 3:24-cv-00347-AN
 DISTRICT OF COLUMBIA,
 STATE OF ILLINOIS,
 STATE OF MARYLAND,                                   STIPULATED TEMPORARY
 STATE OF NEVADA,                                     RESTRAINING ORDER
 STATE OF NEW MEXICO,
 STATE OF OREGON, and
 STATE OF WYOMING,

        Plaintiffs,

        v.

 THE KROGER COMPANY and
 ALBERTSONS COMPANIES, INC.,

        Defendants.

        Plaintiff Federal Trade Commission and Defendants The Kroger Company and Albertsons

Companies, Inc., hereby stipulate to a Temporary Restraining Order in federal district court stating

that:

        a. Kroger and Albertsons shall not consummate the Proposed Transaction until after 11:59

             PM Eastern Time on the fifth (5th) business day after the court rules on the FTC's

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           motion for a preliminary injunction pursuant to Section l3(b) of the Federal Trade

           Commission Act or until after the date set by the District Court, whichever is later; and

       b. In connection with the paragraph immediately above, Kroger and Albertsons shall take

           any and all necessary steps to prevent any of their officers, directors, domestic or

           foreign agents, divisions, subsidiaries, affiliates, partnerships, or joint ventures from

           consummating, directly or indirectly, any such transaction; and

       c. In computing any period of time specified in this attachment, the day of the act, event,

           or default that triggers the period shall be excluded. The term “business day” as used in

           this attachment refers to any day that is not a Saturday, Sunday, or federal holiday.



/s/ Rohan Pai                                         February 26, 2024
Counsel for Federal Trade Commission                  Date



/s/ Michael B. Bernstein                              February 26, 2024
Counsel for The Kroger Co.                            Date



/s/ Ted Hassi                                         February 26, 2024
Counsel for Albertsons Cos., Inc.                     Date



SO ORDERED:

         27
February _____, 2024                                  _____________________________________
                                                      UNITED STATES DISTRICT JUDGE




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